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           Case 21-42375-elm7                   Doc 108      Filed 09/12/22 Entered 09/12/22 13:02:28                                    Desc Main
                                                            Document FORM  1
                                                                         Page 1 of 2
                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                 ASSET CASES
Case No:                21-42375          ELM      Judge:    Edward L. Morris                 Trustee Name:                       Marilyn D. Garner, Trustee
Case Name:              Trinity Commercial C                                                  Date Filed (f) or Converted (c):    10/08/2021 (f)
                                                                                              341(a) Meeting Date:                11/10/2021
For Period Ending:      09/12/2022                                                            Claims Bar Date:                    04/18/2022


                             1                                   2                      3                      4                     5                    6

                  Asset Description                           Petition/            Est Net Value       Property Formally         Sale/Funds           Asset Fully
      (Scheduled and Unscheduled (u) Property)              Unscheduled         (Value Determined         Abandoned              Received by         Administered
                                                              Values             by Trustee, Less         OA=554(a)               the Estate             (FA)/
                                                                                Liens, Exemptions,                                                  Gross Value of
                                                                                 and Other Costs)                                                     Remaining
                                                                                                                                                        Assets
  1. UMB Bank, N.A. Checking 8213                                11,882.00               11,882.00                                           0.00         11,882.00
  2. UMB Bank, N.A. Savings Account 7576                                 0.00                   0.00                                         0.00              0.00
  3. UMB Bank. N.A. Payroll Account 8825                                 0.00                   0.00                                         0.00              0.00
  4. Certificate of Deposit with UMB Bank, N.A.,                 25,913.96               25,913.96                                           0.00         25,913.96
     Account #0455
  5. Water Oak Investments - Office Lease Security               10,234.27               10,234.27                                           0.00         10,234.27
     Deposit
  6. Prepaid Estimating Software - Plangrid                          7,143.40               7,143.40                                         0.00          7,143.40
  7. Accounts Receivable                                      1,837,107.50            1,837,107.50                                    75,216.98        1,761,890.52

     11.a 90 days old or less (face amount)
     1,837,107.50-0 = 1,837,107.50
     11.b Over 90 days old: 2,700.00-2,700.00 = 0.00

  8. Office Furniture                                                9,041.00               9,041.00                                         0.00          9,041.00

     28. 2019 Furniture and Fixtures $649
     17. Chairs $260
     20. Desks $1577
     24 Furniture $6000
     21. Desks $555
  9. Office fixtures Lease Hold Improvements                         9,066.00               9,066.00                                         0.00          9,066.00

     25 Leasehold Improvements 2/14/2018 $2566
     36 Leasehold Improvements 5/7/2018 $6500

 10. Office equipment, including all computer                    30,684.00               30,684.00                                       4,564.00                FA
     equipment and communication systems
     equipment and software

     16 computers and 2 monitors
     1. 1302 Computer $714
     2. 1401 Computer $899
     3. 1402 Computer $878
     4. 1403 Computer $1137
     7. 1701 Computer $1137
     8. 1702 Computer $530
     9. 1703 Computer $1710
     10. 1704 Computer $758
     11. 1705 Computer $1007
     12. 1706 Computer $740
     27. 3019 Computers and Related $14009
     5. Computer $938
     15. Computer $671
     19. Computer $713
     22. Computer $829
     23. Computer $1764
     13. Computers $1754
     16. Monitor $167
     14. Monitors $329
     *Sold at Auction held on July 19, 2022
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           Case 21-42375-elm7                    Doc 108      Filed 09/12/22 Entered 09/12/22 13:02:28                                    Desc Main
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                  Asset Description                            Petition/           Est Net Value      Property Formally          Sale/Funds           Asset Fully
      (Scheduled and Unscheduled (u) Property)               Unscheduled        (Value Determined        Abandoned               Received by         Administered
                                                               Values            by Trustee, Less        OA=554(a)                the Estate             (FA)/
                                                                                Liens, Exemptions,                                                  Gross Value of
                                                                                 and Other Costs)                                                     Remaining
                                                                                                                                                        Assets
 11. Water Department Refund (u)                                       592.20               592.20                                         592.20               0.00

     Credit balance of $592.20 to Trinity Commercial
     due to overpaying - UB 9019662151 Gattis
     School Rd (final bill)
 12. Capital One Credit Balance Refund ending 2337                      18.05                 18.05                                          0.00              18.05
     (u)
INT. Post-Petition Interest Deposits (u)                            Unknown                     N/A                                          0.00                FA


                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                            $1,941,682.38         $1,941,682.38                                   $80,373.18       $1,835,189.20
                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  Trustee continues to collect assets of the Estate, including accounts receivable. Trustee will inspect and attempt to liquidate any
  remaining personal property (i.e., office furniture etc.) and review claims and prepare an Estate tax return as needed.




  Initial Projected Date of Final Report (TFR): 12/30/2022          Current Projected Date of Final Report (TFR): 12/30/2022

  Trustee Signature:        /s/ Marilyn D. Garner, Trustee        Date: 09/12/2022
                            Marilyn D. Garner, Trustee
                            2001 E. Lamar Blvd., Suite 200
                            Arlington, TX 76006
                            (817) 505-1499
                            mgarner@marilyndgarner.net
